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                             UNITED STATES DISTRICT COURT FOR THE
                               NORTHERN DISTRICT OF OKLAHOMA

   1)      LESLIE FARMER,                 )
           an individual,                 )
                                          )
                   Plaintiff,             )
                                          )
   v.                                     )                    Case No.: 16-cv-374-GKF-FHM
                                          )                    (formerly Tulsa County District
   1)      PROGRESSIVE INSURANCE          )                     Court, Case No. CJ-2016-1998)
           COMPANY [SIC],                 )
           a foreign for profit business, )
                                          )
   2)      PROGRESSIVE SPECIALTY          )
           INSURANCE AGENCY, INC.,        )
           a foreign for profit business, )
                                          )
   3)      PROGRESSIVE GROUP OF           )
           INSURANCE COMPANIES [SIC],     )
           a foreign for profit business, )
                                          )
   4)      PROGRESSIVE DIRECT GROUP       )
           OF INSURANCE COMPANIES [SIC], )
           a foreign for profit business, )
                                          )
                   Defendants.            )

                                           NOTICE OF REMOVAL

           Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant, Progressive Specialty Insurance

   Agency, Inc. (“Progressive Specialty”)1, hereby removes the above-captioned action from the District

   Court of Tulsa County, State of Oklahoma, to this Court. Pursuant to LCVR 81.2, a copy of the state




           1
             Progressive Specialty disputes that it is a proper party to this lawsuit. Progressive Specialty is not
   an insurer licensed to transact insurance in the State of Oklahoma and did not enter into an insurance contract
   with Plaintiff. As discussed below, Plaintiff entered into an insurance contract with Progressive Northern
   Insurance Company. Progressive Specialty, through its counsel, has brought this to Plaintiff’s attention and
   requested Plaintiff file an amended petition to name the real party defendant in interest. However, Plaintiff
   failed to respond. Accordingly, Progressive Specialty will be filing a Motion for Judgment on the Pleadings.
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   court docket sheet as well as all documents filed or served in the state court action are attached

   hereto as EXHIBITS 1-5.

          The removal of this case to federal court is based on the following:

                                  ALLEGED FACTUAL BACKGROUND

          1.      Plaintiff, Leslie Farmer, (“Plaintiff”), alleges that she was involved in an automobile

   accident with a third-party driver on or about September 26, 2008. (See Petition, ¶ 2, EXHIBIT 2.)

          2.      Plaintiff alleges at the time of the subject accident, the vehicle she was operating was

   insured under a policy issued by the named Defendants. Plaintiff further alleges that the policy

   provided underinsured motorist (“UIM”) coverage in the amount of $250,000.00 per person/

   $500,000.00 per incident. (See Petition, ¶ 3, EXHIBIT 2.)

          3.      However, Plaintiff’s vehicle was actually insured under an insurance policy issued

   by non-party Progressive Northern Insurance Company. (See Declarations Page, Progressive

   Northern Insurance Company Policy No. 19338978-3, EXHIBIT 6.) In fact, Progressive Insurance

   Company, Progressive Group of Insurance Companies and Progressive Direct Group of Insurance

   Companies could not have insured Plaintiff’s vehicle as they are non-existent business entities.

          4.      According to Plaintiff, due to a third-party driver’s negligence, she sustained personal

   injuries, pain and suffering, permanent impairment and injury, incurred medical expenses and will

   incur future medical expenses. (See Petition, ¶ 4, EXHIBIT 2.)

          5.      Plaintiff claims that, at the time of the subject accident, the third-party driver was

   underinsured, and therefore, she is entitled to UIM benefits under the subject policy. (See Petition,

   ¶ 5, EXHIBIT 2.)

          6.      It is undisputed that at the time of the accident, the third-party driver had an

   automobile insurance policy providing liability coverage in the amount of $50,000.00 per person.


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           7.      Plaintiff alleges that she submitted an UIM claim to the named Defendants and that

   her claim was denied on February 23, 2016. (See Petition, ¶ 7, EXHIBIT 2.)

           8.      Plaintiff claims Defendants’ denial of her claim constituted a breach of contract and

   was done in bad faith. (See generally Petition, EXHIBIT 2.)

           9.      On May 26, 2016, Plaintiff filed suit against Defendants in the District Court for

   Tulsa County, State of Oklahoma. (See generally Petition, EXHIBIT 2.)

           10.     On or about May 31, 2016, Plaintiff purportedly served Progressive Specialty through

   the Oklahoma Insurance Department.2 (See Return of Service Documents, dated May 31, 2016,

   EXHIBIT 3.)

           11.     To date, Plaintiff has not obtained service on the other named defendants. (See

   OSCN Docket Sheet, EXHIBIT 1.)

                            COMPLETE DIVERSITY OF CITIZENSHIP EXISTS

           12.     “‘Federal courts are courts of limited jurisdiction. They possess only the power

   authorized by the Constitution and statute . . . .’” Rasul v. Bush, 542 U.S. 466 (2004) (quoting

   Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 377 (1994)). For a federal court to

   have original jurisdiction over a case or controversy, there must exist a federal question or diversity

   jurisdiction.

           13.     At the time the Petition was filed, federal question jurisdiction did not exist.

   Specifically, there were no allegations that the Constitution or any federal statute had been violated.

   (See generally Petition, EXHIBIT 2.)




           2
             Presumably, in serving Progressive Specialty through the Oklahoma Insurance Commissioner,
   Plaintiff was relying on 36 O.S. § 621. However, Progressive Specialty is not a foreign insurer issuing
   policies in Oklahoma and has not appointed the Oklahoma Insurance Commissioner as its statutory agent.

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           14.     However, as of the moment Plaintiff filed her lawsuit, there existed diversity

   jurisdiction. As shown below, pursuant to 28 U.S.C. § 1332(a)(2), this action is a civil action over

   which this Court has original jurisdiction. It is between citizens of different states and the matter in

   controversy exceeds $75,000.00, exclusive of interest and costs.

           15.     Upon information and belief, at the time of filing, Plaintiff was a resident and citizen

   of the State of Oklahoma. (See Petition, ¶ 1, EXHIBIT 2; Declarations Page for Progressive Northern

   Policy No. 901932836, EXHIBIT 6.) Plaintiff was not a citizen of the State of Ohio. See Grupo

   Dataflux v. Atlas Global Group, L.P., 541 U.S. 567 (2004) (stating that jurisdiction depends upon

   the state of things at the time of filing).

           16.     Plaintiff’s Petition names Progressive Insurance Company, Progressive Specialty

   Insurance Agency, Inc., Progressive Group of Insurance Companies and Progressive Direct Group

   of Insurance Companies as the defendant insurers. (See generally, Petition, EXHIBIT 2.)

           17.     However, Progressive Insurance Company, Progressive Group of Insurance

   Companies and Progressive Direct Group of Insurance Companies are non-existent entities. Thus,

   the Court may properly disregard these entities for purposes of complete diversity of citizenship.

   Davis v. OneBeacon Ins. Group., 721 F.Supp.2d 329, 337 (D.N.J. 2010) (“‘[A] defendant that is a

   non-existent business entity is not required to join in or consent to the removal of a case, nor is the

   citizenship of the non-existent entity considered for purposes of complete diversity of

   citizenship.’” Newsom v. Caliber Auto Transfer of St. Louis, Inc., 2009 WL 4506298, at *2, 2009

   U.S. Dist. LEXIS 110706, at *4 (S.D. Ill. Nov. 26, 2009). Because the court concludes, based on

   the record before it, that OneBeacon is a non-existent entity, removal to this Court need not depend

   upon OneBeacon’s participation, consent or citizenship.”); See also Frith v. Blazon-Flexible Flyer,

   Inc., 512 F.2d 899, 900 (5th Cir. 1975) (noting that district court denied motion to remand because


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   named defendant “was only a trade name and not a legal entity”); Schwartz v. CNA Ins.

   Co.,1:04CV1749, 2005 WL 3088570, at *4 (N.D. Ohio Nov. 17, 2005) (denying motion to remand

   because named defendants were trade names for conglomerate of insurance companies and real

   parties in interest were insurance companies identified in insurance contracts).

          18.     For purposes of diversity jurisdiction, a corporation shall be deemed a citizen of any

   State by which it has been incorporated and the State where it has its principal place of business.

   28 U.S.C. § 1332(c). While Congress never exactly defined “principal place of business,” the

   Supreme Court has held that a corporation’s principal place of business is presumed to be the place

   of the corporation’s “nerve center.” Hertz Corp. v. Friend, 130 S.Ct. 1181 (2010).

          19.     At the time of filing, Progressive Specialty, was a foreign corporation, incorporated

   under the laws of the State of Ohio with its “nerve center” or “principal place of business” in Ohio.

   (See Corporation Details from Ohio Secretary of State, EXHIBIT 7.) Thus, Progressive Specialty was

   deemed to be a citizen of the State of Ohio. Progressive Specialty was not a citizen of the State of

   Oklahoma.

          20.     As Plaintiff and Defendants are citizens of different states, the complete diversity

   requirement of 28 U.S.C.§ 1332 is met.

                         THE AMOUNT IN CONTROVERSY EXCEEDS THAT
                    REQUIRED BY 28 U.S.C. § 1332 FOR DIVERSITY JURISDICTION

          21.     Diversity jurisdiction also requires the amount in controversy to exceed $75,000.00.

   See 28 U.S.C. § 1332. This requirement is also met.




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           22.     Plaintiff’s Petition, on its face, places in excess of $30,000.00 at issue.3 However,

   it is well recognized that a plaintiff “should not be permitted to ostensibly limit their damages to

   avoid federal court only to receive an award in excess of the federal amount in controversy

   requirement.” Morgan v. Gay, 471 F.3d 469, 477 (3d Cir. 2006). In Dart Cherokee Basin Operating

   Co., LLC v. Owens, the Unites States Supreme Court held that “a defendant’s notice of removal need

   only include a plausible allegation that the amount in controversy exceeds the jurisdictional

   threshold.”135 S.Ct. 547, 553 (2014); see also Coco-Cola Bottling of Emporia, Inc. v. South Beach

   Beverage Co., Inc., 198 F.Supp.2d 1280, 1285 (D.Kan. 2002); Okla. Farm Bureau Mut. Ins. Co. v.

   JSSJ Corp., No. 04-6154, 149 Fed.Appx. 775, 776 (10th Cir. September 8, 2005) (unpublished)

   (stating removal is proper if the defendant identifies “allegations in the petition establishing the

   amount in controversy or ‘set forth in the notice of removal itself, the ‘underlying facts’ supporting

   [the] assertion that the amount in controversy exceeds $50,000.00 [now $75,000.00].’”).

           23.     As the United States District Court for the Western District of Oklahoma has

   explained, “the United States Supreme Court made it clear that ‘a defendant’s notice of removal need

   include only a short and plain statement with a plausible allegation that the amount in controversy



           3
            Plaintiff’s Petition does not comply with Oklahoma’s Pleading Code. Title 12 O.S. § 2008 provides
   in pertinent part:

                   Every pleading demanding relief for damages in money in excess of the
                   amount required for diversity jurisdiction pursuant to § 1332 of Title 28 of
                   the United States Code shall, without demanding any specific amount of
                   money, set forth only that the amount sought as damages is in excess of the
                   amount required for diversity jurisdiction pursuant to § 1332 of Title 28 of
                   the United States Code, except in actions sounding in contract. Every
                   pleading demanding relief for damages in money in an amount that is
                   required for diversity jurisdiction pursuant to § 1332 of Title 28 of the
                   United States Code or less shall specify the amount of such damages
                   sought to be recovered.

   12 O.S. § 2008(2) (emphasis added).


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   exceeds the jurisdictional threshold,’ and need not contain any evidentiary submissions.” Whisenant

   v. Sheridan Production Co., LLC, No. CIV-15-81-M, 2015 WL 4041514 at *2 (W.D. Okla. Jul. 1,

   2015); see also Aulestia v. Nutek Disposables, Inc., No. 14-CV-769-JED-FHM, 2015 WL 632073,

   at *3 (N.D. Okla. Feb. 13, 2015) (“It is seemingly simple for plaintiff to state that she seeks damages

   in excess of, or not in excess of, the amount required for diversity jurisdiction, as she was statutorily

   required to do under Okla. Stat. Tit. 12, §§ 2008 and 2009, but she has not done so.”).

           24.     If the plaintiff contests the defendant’s allegation concerning the amount in

   controversy, “28 U.S.C. § 1446(c)(2)(B) instructs that ‘[R]emoval is proper on the basis of an

   amount in controversy asserted’ by the defendant ‘if the district court finds, by a preponderance of

   the evidence, that the amount in controversy exceeds’ the jurisdictional threshold.” Dart Cherokee

   Basin Operating Co., 135 S.Ct. at 553-54 (quoting 28 U.S.C. § 1446(c)(2)(B)). When a plaintiff

   challenges the amount in controversy alleged by the defendant, “both sides submit proof and the

   court decides” whether the requirement has been satisfied. Id. at 554.

           25.     Here, although Plaintiff’s Petition does not explicitly state she is seeking in excess

   of $75,000.00, it is clear that the amount in controversy exceeds that required for diversity

   jurisdiction.

           26.     Plaintiff claims that the third-party driver was underinsured at the time of the

   accident. It is undisputed that the third-party driver had liability coverage in the amount of

   $50,000.00. As such, it appears that Plaintiff believes her claim for personal injuries is worth in

   excess of $50,000.00.

           27.     Further, as the Court is well aware, awards in lawsuits for unspecified amounts of

   damages, when concerning bad faith claims, frequently exceed the sum and value of $75,000.00,

   exclusive of interest and costs.


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          28.     Further still, Plaintiff has asserted a claim for punitive damages against Defendants.

   (See Petition, ¶ 12, EXHIBIT 2.) When punitive damages are alleged, the Court may consider those

   damages in determining whether the requisite amount in controversy exists. The Seventh Circuit has

   explained:

                  [w]here punitive damages are required to satisfy the jurisdictional
                  amount in a diversity case, a two-part inquiry is necessary. The first
                  question is whether punitive damages are recoverable as a matter of
                  state law. If the answer is yes, the court has subject matter
                  jurisdiction unless it is clear “beyond a legal certainty that the
                  plaintiff would under no circumstances be entitled to recover the
                  jurisdictional amount.”

   Del Vecchio v. Conseco, Inc., 230 F.3d 974, 978 (7th Cir. 2000) (quoting Cadek v. Great Lakes

   Dragaway, Inc., 58 F.3d 1209, 1211-12 (7th Cir. 1995)); See also Bell v. Preferred Life Assur. Soc’y

   of Montgomery, Ala., 320 U.S. 238, 240 (1943) (“Where both actual and punitive damages are

   recoverable under a complaint each must be considered to the extent claimed in determining

   jurisdictional amount.”); Woodmen of World Life Ins. Soc’y v. Mangarnaro, 342 F.3d 1213, 1218

   (10th Cir. 2003) (“Punitive damages may be considered in determining the requisite jurisdictional

   amount.”); Gibson v. Chrysler Corp., 261 F.3d 927, 945 (9th Cir. 2001) (“It is well established that

   punitive damages are part of the amount in controversy in a civil action.”); A.F.A. Tours, Inc. v.

   Whitchurch, 937 F.2d 82, 87 (2d Cir. 1991) (“[I]f punitive damages are permitted under the

   controlling law, the demand for such damages may be included in determining whether the

   jurisdictional amount is satisfied.”); Ryan v. State Farm Mut. Auto. Ins. Co., 934 F.2d 276, 277 (11th

   Cir. 1991) (holding that under a specific Georgia punitive damages statute it was possible for a jury

   to award an amount above the minimum amount in controversy requirement, and therefore, federal

   jurisdiction existed); Kahal v. J.W. Wilson & Associates, Inc., 673 F.2d 547, 548 (D.C. Cir. 1982)

   (“A Court must consider claims for both actual and punitive damages in determining jurisdictional


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   amount.”); Shaffer v. Skechers, USA, Inc., No. CIV-09-167-D, 2009 WL 3837408 at *3 (W.D. Okla.

   Nov. 16, 2009); Flowers v. EZPawn Okla., Inc., 307 F.Supp.2d 1191, 1198 (N.D. Okla. 2004).

           29.     Punitive damages have been alleged and are allowed by state law. Badillo v. Mid

   Century Ins. Co., 121 P.3d 1080, 1105 (Okla. 2005) (“As applicable to this case, 23 O.S. 2001, § 9.1

   provides that a jury may award punitive damages if it finds, by clear and convincing evidence, that

   an insurer has reclessly disregarded its duty to deal fairly and act in good faith with its insured [§

   9.1(B)] or an insurer has intentionally and with malice breached said duty. § 9.1(C)(2).”) Therefore,

   as stated in Del Vecchio, the question is whether “it is clear beyond a legal certainty that the plaintiff

   would under no circumstances be entitled to recover the jurisdictional amount.” 230 F.3d at 978

   (emphasis added, internal quotations omitted). The answer to this question must be no.

           30.     In Oklahoma, punitive damages are controlled by statute. See 23 O.S. § 9.1. There

   are three categories of punitive damages. Each category increases the amount a plaintiff can

   potentially recover. Plaintiff’s Petition alleges facts that implicates at least Category I Punitive

   Damages. Category I punitive damages allows a jury upon finding that “the defendant has been

   guilty of reckless disregard for the rights of others” to award punitive damages in an amount not to

   exceed the greater of $100,000.00, or the amount of actual damages awarded. 23 O.S. § 9.1(B).

           31.     This Court’s recent Order in Singleton v. Progressive Direct Insurance Company, 49

   F.Supp.3d 988 (N.D. Okla. 2014), is particularly instructive. In that case, the plaintiff was involved

   in an automobile accident and sought UM/UIM benefits from her insurer. The plaintiff submitted

   a claim to her insurer and demanded policy limits. Id. at 990. After investigating and evaluating her

   claim, the plaintiff’s insurer tendered the policy limits of her UM/UIM coverage. Id. Despite the

   tender of policy limits, the plaintiff filed a petition in Tulsa County District Court alleging claims

   for breach of contract and bad faith. Id. The plaintiff also sought punitive damages. As in this case,


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   the plaintiff did not make a demand for a specific sum. Id. Instead, the plaintiff alleged that she

   suffered damages in excess of $10,000.00. Id.

           32.     When the plaintiff continued to pursue her claims against her insurer, the insurer

   timely removed the action to this Court. The insurer asserted the plaintiff’s policy limits demand

   combined with her request for punitive damages demonstrated to a preponderance of the evidence

   that she sought to recover in excess of $75,000.00. Id. at 993. The plaintiff moved to remand the

   case. The Court denied the plaintiff’s motion. Id. at 993-94. In doing so, the Court concluded:

                   Considering the petition and notice of removal together, the court
                   finds that [the insurer] has not merely offered a “conclusory
                   statement” involving punitive damages, but has affirmatively
                   established that the amount in controversy exceeds the jurisdictional
                   limit. Where [the plaintiff] asked for actual damages exceeding
                   $10,000, a punitive damages award of $65,000 or more would reach
                   the jurisdictional threshold. This would require no more than a
                   single-digit ratio of punitive damages to actual damages, even after
                   [the insurer] deflated the denominator with a $100,000 payment just
                   prior to the initiation of this action. [The plaintiff’s] petition,
                   meanwhile, alleges that [the insurer] failed to properly investigate her
                   claim, delayed payments or withheld them altogether, and used its
                   unequal bargaining position to overwhelm and take advantage of her,
                   though it knew that she was entitled to receive $100,000 in UIM
                   benefits under her policy. These allegations supply the required
                   facts supporting [the insurer’s] assertion that the value of [the
                   plaintiff’s] claim for punitive damages exceeds the amount
                   required to surpass the jurisdictional threshold.

   Id. at 994 (emphasis added).

           33.     Here, as in Singleton, Plaintiff asserts claims for punitive damages. Also like the

   plaintiff in Singleton, it appears Plaintiff has attempted to avoid this Court’s jurisdiction by alleging

   damages in an undisclosed amount. However, as this Court is well aware, at trial, Plaintiff clearly

   intends to seek damages in excess of $75,000.00. See Murchinson v. Progressive Northern

   Insurance Co., 564 F.Supp 2d 1311, 1316 (E.D. Okla. 2008) (“[M]any cases are just like this one:

   the plaintiff knows the amount sought exceeds $75,000.00. The defendant knows the amount sought

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   exceeds $75,000.00. The court knows the amount sought exceeds $75,000.00. The court knows that

   the parties themselves know it.”)

           34.     Progressive Specialty has demonstrated that amount in controversy exceeds

   $75,000.00 and Plaintiff could recover in excess of $75,000.00.

           35.     Therefore, the amount in controversy is also met.

                       REMOVAL TO THIS COURT IS TIMELY AND APPROPRIATE

           36.     Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is timely filed with this

   Court. Plaintiff purportedly served Progressive Specialty with this lawsuit on June 1, 2016. As

   such, 30 days have not elapsed since this action became removable to this Court. Additionally,

   pursuant to the same federal statute, one year has not elapsed since the commencement of this action.

   (See Petition, filed on May 26, 2016, EXHIBIT 2.)

           37.     Next, federal statute requires that none of the parties served as defendants be citizens

   of the state in which the action is brought. See 28 U.S.C. § 1441(b). Progressive Specialty is not

   a citizen of the State of Oklahoma, the state in which this action was brought. Further, as shown

   above, Progressive Insurance Company, Progressive Group of Insurance Companies and Progressive

   Direct Group of Insurance Companies, all non-existent entities, may be disregarded for purposes of

   diversity jurisdiction.

           38.     This action has been removed to the proper Federal District Court. The pertinent

   language of 28 U.S.C. § 1446(a) provides that the defendant shall file the notice of removal in “the

   district court of the United States for the district and division within which such action is pending.”

   28 U.S.C. § 1446(a). Currently, this action is pending in the District Court of Tulsa County, State

   of Oklahoma. The Northern District of Oklahoma includes the County of Tulsa County. See 28

   U.S.C. § 116(a). Therefore, removal to this Court is proper.


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          39.     Finally, pursuant to 28 U.S.C. § 1446(b)(2)(A), “all defendants who have been

   properly joined and served must join in or consent to the removal of the action.” (emphasis

   added). As Progressive Insurance Company, Progressive Group of Insurance Companies and

   Progressive Direct Group of Insurance Companies are non-existent entities and have not been served,

   they need not join or consent in this removal. See Davis, 721 F.Supp.2d at 337.

          40.     Pursuant to 28 U.S.C. § 1446(d), Progressive Specialty will serve written notice of

   the filing of this Notice of Removal upon Plaintiff, and Progressive Specialty has filed a copy of the

   Notice of Removal with the Clerk of the District Court in and for Tulsa County, State of Oklahoma.

          WHEREFORE, Defendant, Progressive Specialty Insurance Agency, Inc, removes this action

   from the District Court in and for Tulsa County, State of Oklahoma, to the United States District

   Court for the Northern District of Oklahoma.

                                                         Respectfully submitted,


                                                         s/ Brad L. Roberson
                                                         Brad L. Roberson, OBA No. 18819
                                                         Erin J. Rooney, OBA No. 31207
                                                         PIGNATO, COOPER, KOLKER & ROBERSON, P.C.
                                                         Robinson Renaissance Building
                                                         119 North Robinson Avenue, 11th Floor
                                                         Oklahoma City, Oklahoma 73102
                                                         Telephone:    405-606-3333
                                                         Facsimile:    405-606-3334
                                                         ATTORNEYS FOR DEFENDANT, PROGRESSIVE
                                                         SPECIALTY INSURANCE AGENCY, INC.




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                                    CERTIFICATE OF SERVICE

           I hereby certify that on June 22, 2016, I electronically transmitted the attached document to
   the Clerk of Court using the ECF System for filing. Based on the records currently on file, the Clerk
   of Court will transmit a Notice of Electronic Filing to the following ECF registrants:

          Amber Peckio Garrett, Esquire

          I hereby certify that on June 22, 2016, I served the same document by U.S. Mail on the
   following who is not a registered participant of the ECF system:

          Ms. Sally Howe Smith, Court Clerk
          Tulsa County
          500 South Denver Avenue
          Tulsa, Oklahoma 74103

                                                         s/ Brad L. Roberson
                                                         For the Firm




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